Case 3:17-cv-00461-REP-RCY Document 51 Filed 10/23/17 Page 1 of 2 PageID# 1135




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Richmond Division
 __________________________________________
 LULA WILLIAMS, et al.,                      )
                                             )
                         Plaintiffs,         )
             v.                              )     Civil Action No. 3:17-cv-461 (REP)
                                             )
 BIG PICTURE LOANS, LLC, et al.,             )
                                             )
                         Defendants.         )
 __________________________________________)

                PLAINTIFFS’ MOTION TO COMPEL DOCUMENTS
           WITHHELD ON THE BASIS OF ATTORNEY-CLIENT PRIVILEGE

        For the reasons explained in the Memorandum in Support filed contemporaneously

 herewith, Plaintiffs, by counsel, pursuant to Rule 37 of the Federal Rules of Civil Procedure and

 the telephone conference held by the Court on October 16, 2017, move for an order compelling

 production of all documents identified on Defendant Big Picture Loans, LLC’s (“Big Picture

 Loans”) privilege logs dated October 2, 2017, October 10, 2017, and October 13, 2017.

                                                     Respectfully submitted,
                                                     PLAINTIFFS

                                                     _____/s/ Kristi C. Kelly ____________
                                                            Counsel

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                                                1
Case 3:17-cv-00461-REP-RCY Document 51 Filed 10/23/17 Page 2 of 2 PageID# 1136




                                CERTIFICATE OF SERVICE

         I hereby certify that on this 23rd day of October, 2017, I will electronically file the
 foregoing with the Clerk of the Court using the CM/ECF system, which will then send a
 notification of such filing (NEF) to all counsel of record.



                                               /s/ Kristi C. Kelly
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